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                     Exhibit 2-A
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                                                                         IJ.S OEPARIMENT OF COMMERCE
(+93)
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                                                                                                           EuAl
                       CLASSIFICATION AND                                                                  N4R   #:
                PERFORMANCE MANAGEMENT REGORD                                                              tP #:
                                 * Performance   Appraisal ' Performance Recognition ' Progress Review                     '
    '   Performance Plan                                                                                                       Position Description



Employee's Name                                                                      Social Security No
Position Title      :           Patent Examiner

Pay Plan, Series, Grade/Step               GS-1224-09 Probationary
Organization               1.   Department of Commerce                                  4       Patent Examining Groups
                        2       Patent & Trademark Office                               5       Technology Center
                        J       D/C for Patent Operations                               o       Art Unit
Rating Period

Covered By:                     Senior Execulive SeNice

                                General Woftforce                   Eother
                                                      PART A - POSITION DESCRIPTION
POSITION CERTIFICATION: I certify that this is an accurate statement of the major duties and responsibilities of the position
and its organization relationships and that the position is necessary to carry out the Govemment functions for which I am
responsible. This certification is made with the knowledge that this information is to be used for statutory purposes relating to
appointment and payment of public funds and that false or misleading statements may constitute violation of such statute or
 their implementing regulations.
SUPERMSOR'S SIGNAIURE                                         TE            SECOND LEVEL SUPERMSOR                                    OATE




CLASSIFICATION                  OFFICIAL TITLE
CERTIFICATION                   PP:                 SERIES                  FUNC                GRADE                     r-'IYES f:lNo
Icedify that this posilion has been classified as required by Title 5, US Code, in conformance with standards published by the OPM
or, if no published standards applies dkectly, consislently with the most applicable published standards.
NAME AND TITLE OF CLASSIFIER                                                SIGNATURE                                                DATE




                                                          PART     B.   PERFORMANCE PLAN
This plan is an accurate statement ot lhe wo.k lhat willbe the basis ofthe employee's perlormance apprarsal
NAME AND TITLE OF THE FIRST LINE SUPERVISOR/RATING OFFICIAL                 SIGNATURE                                                DATE




APPROVAL - I agree with the certificatEn of the position description and approving the performance plan
NAME ANO TITLE OF APPROVING OFFIC]AL OR SES APPOINTING AUTHORITY            SIGNATURE                                                DATE




EMPLOYEE ACKI{OWLEOGEiIENT - My signature acknowledges                      SIGNATURE                                                OATE
discussron of the position descdption and receipt ofthe ptan,
and does nol necessarily signtfy agreemenl.
PRIVACY ACT STATE ENT - Disclosure ot your social security number on this form is voluntary. The number is linked with your
name in the oflicial personnel records system to ensure unique identificalion of your records. The social security number will be
used solely lo ensure accurate enlry of your performance raling inlo the aulomated record syslem.




                                                                                                                                              00t435
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 enployee's perfomanc. of the elenent.                                                                                     St.p 6. All the infolMtion documerted D Sreps 3-J abov€
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FORM CD-396 (R€!. 3-89)




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 FORI\4 CD-5168 LF                                                                                                                                           U.S Deparbnent of Co
 (REV 1-94)
 oAo 202430                                   APPENDIX A
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Case 1:17-cv-00261-TSE-TCB Document 22-1 Filed 11/30/18 Page 5 of 24 PageID# 260

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l. Production                               Art Unit                        FiscalYear:       20'14              GS-1224-09 Probationa
  SECTION 1 - PERFORMANCE PLAN, PROGRESS REVIEWANDAPPRAISAL RECORD
  Nam€                                                                   Date                         Sheet No           1 of    10

  Item 1. Performance Element and Objective (ldentify as Critical or Non-critical, and if it being tracked at the department
  level)

           lxl   Critical   [ ] Non-Critical [ ]       Management-by-Objectives (MBO)

           Element:         l. Production
           Objective        To achieve assigned expectancy,

   weighting Factor: (Weights reflect the amount of time devoted to accomplishing the element and/or
                     its importance. Weight for performance plans must total 100.)
                            Enter Weight for this element in the adjacent box:
                                                                                                                                      0


  Item 2. Maior Activities (ldentify activities or results that need to be accomplished in support of the performance element.)

 The examiner examines assigned patent applications from first action to final disposition within an assigned expectancy
 (hours per balanced disposal (BD)).




 Item 3. Criteria for Evaluation (Use generic performance standards printed in Appendix A. Supplemental performance
 standards may also be specified below.)

 An examiner shall be assigned a rating with respect to Production as follows:
            110% or   above             Outstanding
            L030/0 - LOg%               Commendable
            95%- L02%                   Fully Successful
            88o/o - 94%                 Marginal*
            below 88%             Unacceptable
  *Note: Continued or repetitive performance at this level adversely impacts upon the efficiency of the service under the
 performance Element.

 All percentages shall be rounded off to the nearest whole number (i.e, 109.49% rounds to 109% and 109.50% rounds to 110%.)

 with respect to this element your goal in the docket to which you have been assigned     is listed on the Productivity Attachment.
 It should be noted that if your GS position factor changes during the fiscal year your evaluation will be based on a composite
 goal pro-rated for the periods in each GS position factor.

 The supplemental performance standards for evaluation of production are follows:
                                                                                     caL*lalld Prodl:tctt9ll Hours
 Achievement shall be recognized in terms of percentage achievement             of     Total Eramining Hours
                                                                                                                     .



 Where, Calculated Production Hours = lBalance DtsposalslBDl Achievedl          x lAdjusted Expectancy   for theperiodl and;
        Total Exa mining Ho urs = Total Erumtning Hours lot the period


                                                                     Optional Initial Block


                                                                        Emp.                  Date               Supv           I)ate
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                                                                                                                                      001419
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l. Production                                             Art Unit                                               Fi6c6lYear: 2014                               GS-'1224-Og Probationa
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  When calculating the number of BDs achieved, the higher of the following two calculations shall be used:
                                    (xiD)
            Option 1) BD=               where N isthe number of First Actions on the Meritsand Disthe number of Disposa                                                                        ls

                lf Option 1 is used, your goal is the "Actual Expectancy (Exp/PF)"

                                  g9l11E)
            Option 2)      BD =                   where the number of counts is the sum of the counts earned for actions as shown in the
                                        2
            table below. lf Option 2 is used your goal is the "Ad usted Actual Expectancy Exp./PF + Adj.)"
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                                              -crP6                     - c!V,                    -   Ra$l- rw,            -otv.            -   coN,                 -   Ragur
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                 PAP;2)in the fnst quarterofthe fiscalyear, the first three non-ceilint                RCE     FAOM5 forwhich credit is received;and 3)in these€ond, third,

                 and fourth quaners   ofthe fiscalyeat the fi.st four non-ceilint           RCE   FAO[45forwhich cr€d't       is receNed.


 First Actions on the Meritsshall not include first action restriction requirements. However, an examiner will beassigned an
 appropriate amount of non-examining time for drafting all restriction requirements which do not include an action on the
 merits and are in compliance with current Office policy.
                                                                                                  Optional Initial Block

                                                                                                            Em                      Date                        Su                           Date
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                                                                                                                                                                                                    00r440
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ll. Ouali                                    Art Unit                            FiscalYear: 2014               GS-1224-09 Probationa
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   Name                                                                    Date                      Sheet No          3 of       10

  Item 1. Performance Element and Obiective (ldentify            as Critical   or Non-critical, and if it being tracked at the department
  level)

            IXI Critical [ ] Non-Critical [ ]                 Management-by-Objectives (MBO]

            Element: ll.       Quality

            Objective       To formulate or recommend appropriate action in the examination of patent applications


  Weightlng Factor: (Weights reflect the amount of time devoted to accomplishing the element
                    and/or its importance. Weight for performance plans must total 100.
                            Enter Weight for this element in the adjacent box.)
                                                                                                                                  70


 Item 2. Major Activities (ldentify activities or results that need to be accomplished in support ofthe performance element.)

With no preliminary instructions, the examiner formulates or recommends appropriate adion with respect to major activities
 1-6 as setforth in Table 2.

The examiner submits all Office actions in draft form.




                                             Optional lnitial Block        Emp.               Date              SuDv             Date
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                                                                                                                                        001441
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ll. Ouality             Art Unit         Fiscal Year: 20'14 GS-1224-09 Probationa
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   Name                                                                       Date                       Sheet No.           4 ol         '10

  The examiner will be assigned a rating using the criteria set forth below with respect to the major activities for which the examiner is
  responsible based on the work product submitted in final form which has been credited for the period under consideration.

         Table   2

                                                                                     G5 GS   GS     G5     G5 G5        G5   13l     G5 14      G5
         Quality Majo. Activities
                                                                                     579            11     12 13        14 PsA                  15

         7     checking applications for (a) compliance
               with formal requirements of patent
               statutes and rules and (b) technological
                                                              Basic       o
         2     treating disclosure statements and claims
                                                              Basic       o
         3     analyzing disclosure and clarms for
               comphance with 35 USC 112;
                                                              Basic       a
         4.    planninS field ofsearch;                       Basic       o
         5,    conductinS search;                             Basic       o
         6     makinB proper rejections under 35 USC
               1O2 and 1O3 with supportint rationale, or
               determrning how claim(s) distinEUish
                                                              Basic       o
               over the prior art;
         7     determining whether amendment
               introduces new matter;                           d         o
         8.    a ppropnate ly form ulating restnction

               requirements, where application could
               be restricted
                                                                d         o
         9     determining whether claimed invention
               is in compliance with 35 USC 101;                d         o
         10.   evaluatingr/applying case law as
                                                              Legal

         11,   determining where appropriate line of
               patentable distinction is maintained
               between applications and/or patents;
                                                              Legal       o
         12.   evaluatrng sufficiency of affrdavits/
                                                              LeSal
               declarations;
         13.   evaluating sufficiency of reissue
               oath/declaration;
                                                              tegal       o
         14.   promotes compact prosecution by
               includrng all reasonable grounds of
               rejections, objections, and formal
                                                              Legal       o
               requirements; (M.P.E.P. 707.o7(g), etc.)j
         15.   makes the record, taken as a whole,
               reasonably clear and complete;
                                                              Legal       o
         16,   properly treats allmatters ofsubctance
               in applicant's response;
                                                              Legal       o
         17.   formulates and independently siEns final
               determinations of patentability (final
                                                              Legal
               rejections, allowance, examiner answers
               and advisory actions)
         18-   properly closes prosecution: makes no
               Premature final rejection
                                                              Legal       o
         19.   propErly rejects allrejectable claims in a
               final rejecton; properly allows all claims
               in an allowance
                                                              Legal       o

 'Errors for these items will be charged under another major activity,
                                                 Optional Initial Block       Emo.           Date                    Supv                Date
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                                                                                                                                                001442
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ll. Quality                              A.t Unit                        FiscalYea.: 2014              GS-1224-09 Probation
   SECTION 1 - PERFORMANCE PLAN, PROGRESS REVIEWANDAPPRAISAL RECORD
  Name                                                               Date                   Shoet No          5 of      10

   Item 3. Criteria for Evaluation (Use generic performance standards printed in Appendix A. Supplemental performance
           standards may also be specified below.)

   Clear error under thls element will be deemed to have occurred where the examine/s office action(s) or office
  communication(s):
  1. does not reasonably comply with the major activities set forth in table 2, and
  2. could not have been permitted at the time and under the circumstances that the action was taken, and
  3. is notan honestand legitimate difference of opinion astowhataction should have beentaken. lf the action ta ken by
  the examiner is reasonable and the action preferred by the SPE is reasonable, this constitutes an honest and legitimate
  difference of opinion and the action taken by the examiner is free of clear error.

  The examiner will be assigned a rating using the criteria set forth below with respect to the major activities for which the
  examiner is responsible (see Table B) based on the work product submitted in finalform which has been credited for the
  period under consideration.

  The examiner shall be assigned a rating with respect to the quality of examination in 2 categories.

  CateBory 1 errors may be charged after several occurrences of the same error when individual mentoring and training has
  failed to eliminate the problem. After comm ission of a category 1 error the Agency may rely upon mentoring a nd training
  provided during the previous and current fiscal years.

  Category 2 errors may be charged after a single occurrence.

  ln a single action;
  .   Multiple errors in a single category will be charged as one error.
  .   lf an error can be held in more than one category, it will be charged as an error in the highest category.
  .   Both a Category 1 and a Category 2 error may be charged in the same action if they are unrelated.

  The examine/s work product in the assigned major activities will be evaluated using the criteria as set forth below:
  Outstanding - The examine/s oral and written expressions are exceptionally clear and effective. Except for rare
  occurrences, the work product is complete, accurate and leaves little room for improvement.
  Commendable - The examiner's oral and written expressions are clear and effective. ln substantially all actions, the work
  product is complete and accurate with little or no revision required.
  Fully Successful - The examine/s oral and written expressions normally convey the examine/s position effectively.
  Normally the work product is complete and accurate, requiring only minor revision.
  Marginal* - ln a significant number of instances oral or written expressions do not effectively convey the examiner's
  position. ln a significant number of instances the work product is incomplete or inaccurate, and requires substantial
  revision.
  Unacceptable - Performance is not adequate for the position. ln numerous instances, oral or written expressions do not
  effectively convey the examiner's position. ln numerous instances, the work product is incomplete or inaccurate, and
  requires major revision.

  *Note: Continued or repetitive performance at this level adversely impacts upon the efficiency of the service under this
  performance element.




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lll. Docket Management                            Art Unit                                    FiscalYerr: 2014                   GS-'1224-09 Probationa
  ffiPLAN,                                                              PROGRESS REVIEW AND APPRAISAL RECORD
  Name                                                                                  Date                         Sheet No.              6 of    10


  Item 1. Performance Element and Obiective (ldentify                     as   Critical or Non-critical, and if it is being tracked at the department
  level.)
            lxl critical Ij Non-Critical [ ]                     Management-by-Objectives (MBO)

            Element: lll.             Docket Manatement

            Objective          To conduct examining activities within prescribed timeframes

   Weighting Factor: (Weights reflect the amount of time devoted to accomplishing the element and/or
                     its importance. Weight for performance plans must total 100.)
                               Enter Weight for this element in the adjacent box:
                                                                                                                                                     20



  Item 2. Major Activities (ldentify activities or results that need to be accomplished in support of the performance
  element.)

  Except where the SPE, Director, or other appropriate authority has waived, excused, or directed otherwise, the
  examiner;
          1) Handles all applications and proceedings awaiting action in accordance with the time period or Special
          handling instructions prescribed by current Office policy;
          2) Forwards all work for processing and/or handling promptly or in accordance with prescribed time period
  See table below for specific categories and time periods:
                                                                                                                                  (oiling
                                                           (ompon€nt (A.l ion lypP5)
                                                                                                                                  (rrrysl
                          1   Al'-{ .nb rclporlla to noi{nal OA Appaal 8d.6                                             55         ed
                              spd.l lrl/
                              .& PPH, A..eLr!d EEmlnot dr, hhlon3 to Mate sp.d!|, Trad                    1, FcT,       t4          a
                          2
                              R.crrm- RdssuE .tc-
                              S9..a.l Artrsd.d
                              e€. PPH, Accel€dt€d Er.mln.tlon, Petltloni to M.kc Sp€d.|, Bo.rd                          ,t          2a
                              H.lms/R.m.rd.
                         3
                              rldl                                                                                      a           55
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                              Ery.dd
                         4                                                                                              t1          2a
                              .8. Aft.r Fln.k, ncrpons.s     under 37   CFR   1,312,   PUBS   Crs.s (PrintcrRush6)
                         5    f.Err    (R.turrrd ht ISB & 8.rrL{.r)                                                     ,A          L
                    l A "qualifyinS pay period"   is one in which   lhe examiner has at least 40 examinin8 hours orthe examiner's hourly production goal,
                    whichever is Sreater.

                    2    ln these cateSories additional cases will be identified so the examiner can work ahead provided the oldest case in the component
                    is   completed in the pay period.

                    r   when an amendment exceeds the 98 day ceilinE a 150% score (equivalent to 196 days) will be recorded for the application

                                                                                        ional lnitial Bloak

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lll. Docket   lra       nt                  Yea.: 2014
                                             Art Unit      GS-1224-09 Probationary
                                                                               Fiscal

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  Name                                                                    Date                       Sheet No           7 of    10

  Item 3. Criteria for Evaluation (Use generic performance standards printed in Appendix A. Supplemental performance standards
  may also be specified below.)

  Evaluation of thiselementwill be basedon an overall docu ment management score determined as set forth below. Basedonthat
  score, an examiner shall be assigned a rating for this element as follows:
              110% or   above    Outstanding
              LO3%-  7O9%        Commendable
              95% - LO2%         Fully Succ$stul
              88%-94%            Marginalr
              below 88%          LJnacceptable

 *Continued or repetitive performance at this level adversely impads upon the efficiency of the service under this performance
 element.
 All percentages shall be rounded to the nearest whole number (i.e, 109.49% rounds to 109% and 109.50% rounds to 110%.)

  However, the examiner will not be held responsible for an application that is not ready for examination

  Docket Management performance waivers will be available in the following instances:
         1. >5 consecutive days away for short day cases**
         2. Four or more contiguous weeks (28+ days) absence for reasons that would qualify under FMtA or sick leave (excludes
         vacations).
         3. Details of 50% or more

              Additional guidance on waivers can be found in the PAP Guidelines for Docket Management.


              '$ lf an examiner is away for five consecutive days or more (excluding AWOL), there will be an adjustment for After Finals,
              Responses under 37 CFR 1.312, PUBs Cases (Printer Rushes), Petitions/Special Programs Amendments and Corrections
              unless the application is already past the "Expected Average Days'r requirement (set forth in table above) fior to the
              beginnlng of the days away.

              Examiners planning vacations and other absences may work ahead on new case components in Category 3 of this element
              lf the examiner completes the oldest case as marked during the pay period the examiner may also submit other cases
              marked with an asterisk in the same component and receive a "0" day for those cases.

 As set forth in detail in the Docket Management section of the PAP Guidelines, patent applications (cases) that exceed the ceiling
 control number of days will be handled through a Docket Management Plan (DMP). A DMP will be in effect and wlll remain in effect
 whenever an examiner has one or more ceiling-exceeded cases. Under a DMP, on a biweekly basis and in accordance with the PAP
 Guidelines, the examiner's supervisor will assign a number of ceiling-exceeded cases which must be posted for credit by the end of
 counting for that biweek. lf a case assigned per the DM P ls not posted for credit by the end of counting for that biweek, that case
 will count as another entry at the ceiling level towards the examiner's component and composite Docket Management scores for
 that biweek. Cases not posted for credit by the end of counting for that biweek will count using a varying scale as outlined in the
 PAP Guidelines and summarized in the table below.
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   SECTION 1 - PERFORMANCE PLAN, PROGRESS REVIEWANDAPPRAISAL RECORD
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    Calculating Docket Management Composite Score

   The docket management element is based on the actual average number of days between an action being placed on an
   examiner's docket (See "Start Date" Chart below) until posting for credit or ceiling exceeded. For all components other
   than category L, a ceiling exceeded score equal to the Ceiling Control days is entered for the calculation of the actual
   average. For category 1., a ceiling exceeded score of 196 days is entered for calculation of the actual average.

                        C2t.       (onrponent {a.tn,n Iype)


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                         1     E4.di.d                                       vtl.ll afFbtbn ts paaard dr .lrnl:,r (b&t.
                                                                                   t



                         5     anrna                                                              ht.lltrlrdrcgrraE
    Theactual average number of days for a given component (application type) is then compa red to the expected
    average days for that component. There are 6 distinct components, with expected average days ranging from 14-days
    to 56-days. For each component, a score is calculated using the (((wfo-wf1)/wfo)+1)*100, where wfo represents
    expected average days for the component, and wfr represents the actualaverage days for the component. The
    component scores are weighted based on the number of actions in each componentto form a contributing score for
    that component. The total docket ma nagem ent score is the sum of each of the contributing scores as illustrated in the
    example below:

                                                               Ea..rd llutrerd                           Awagc           CoanporErf ScorE               Cdrtihftg
                                                               Arrarr0lG                   rq
    ClL           CdlPor.lrt lAction Typ..l                      ocrt                                     O+          (( lfo-rf t),lrfo)+t f100            Scorc
                                                                  ttfo
                                                                                             no            vlt                     c5.r            (n   Jsur{a J)'CS t
           ArHaffi             h   rtryrBb rEr-llEloA              58                       100             24                   157.1%
      1
           A!9!|lErE                                                                                                                                      66-9!t6
           Sg.ca.f     f€*
           a.9. tH. Acoarar6d EEnir&o, Pal$.ll
           io tLta Sr.aI. Traat I , FCf, Rada,rl                   't1                       12             12                   fi4.3%                    5.8%
      2    lkE,dE
           $..IArErE
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           b U.L. SFd.( 6o!d Occabo.fi.rt*r
           Icr
      3    Brfrbtl.r, Ctfisab.I' Cdtr.&.r h
           h.l (GI U'rrbi.t' nCE
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           t$.d.d
      4    o.O.   At   . Fhab, Raaeclt!€! s.raLr 37 CfR            14                        57             I                    112.9%                    u.7%
           1.312,   ArB.     C....   (Prht€r   Ru.h..)
      5      hrr.        G.fnd tISSf nn,|rr,                       la                         I             I             t4zsx(tlsxl                      1.9*
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lV. Stakeholder lnteraction                  Art Unit                            FlscalYear:     20'14               GS-'1224-09 Probationa
   SECTION 1 - PERFORMANCE PLAN, PROGRESS REVIEWANDAPPRAISAL RECORD
   Name                                                                      Date                        Sheet No.            90            0


  Item 1. Performance Element and          Objective         (ldentify as Crltical or Non-critical, and if it   is being   tracked at the
  department level.)

          [   ] Critical [Xl Non-Critical [ ]                Management-by-Obiectives (MBO)

          Element: lV.             Stakeholderlnteraction

          Objective:          To provide appropriate service to stakeholders.

   Weighting Factor: (Weights reflect the amount of time devoted to accomplishing the element and/or
                     its importance. Weight for performance plans must total 100.)                                                          10
                     Enter Weight for this element in the adjacent box:

  Item 2. Major Activities (ldentify activities or results that need to be accomplished in support of the performance
  element.)
  L. Treat externalstakeholders with courtesy and professionalism by:
          a. Returning phone calls from external stakeholders, generally in one business day.
          b. Reviewing email messages generally at least once every workday, and responding, if necessary by any
          appropriate means.
          c. Providing normal schedule information via voice mail if working other than a Monday through Friday schedule.
          d. Providing voice mail notice of extended absences of three or more business days.
          e. Directing external stakeholders to appropriate office or person, in accordance with a list provided or posted by
          Management.
          f. Conducting all interviews and/or other contacts with external stakeholders as scheduled with adequate
          preparation, and in a courteous manner. Further, no interview and/or other contact is arbitrarily or capriciously
          refused by the examiner.
          g. Displaying proper decorum in official communications (e.9., Office action or interview summary)to external
          stakeholders.

  2. Providing search consultation and other            assistance to the public and peers.




  Item 3. Criteria for Evaluation (Use generic performance standards printed in Appendix A. Supplemental performance
  standards may also be specified below.)

  Ratings will be based on demonstrated behavior of the following criteria

              Outstanding - All major activities identified are routinely performed in a timely and courteous manner and, except
              for rare exceptions, the employee demonstrates all of the identified indicia.




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                                                                                                 Date                Supv               Date
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lV. Stakeholder lnteraction
                        Art Unlt          Fiscal Year: 2014          GS-1224-09 Probationary
   SECTION 1 - PERFORMANCE PLAN, PROGRESS REVIEWANDAPPRAISAL RECORD
   Name                                Date                 Sh6€t No      10 o- 10
           Commendable - All major activities identified are routinely performed in a timely and courteous manner and the
           employee demonstrates all of the identified indicia in substantially all circumstances.
           lndicia:
                    .Routinely uses interview practice to facilitate compact prosecution
                    .ls accessible and responsive regardless of physical location
                    .Provides appropriate information to address stakeholder inquiries
                    .Responds to internal stakeholders in a timely manner
                    .Responds appropriately to requests for personal interviews in a timely manner
                    .ls always well prepared for interviews

           Fully Successful   -All major activities identified are norma lly performed in a timely a nd courteous   man ner

           Marginal- Demonstrates some contribution to the element, However, a significant number of documented
           deficiencies in at least one ofthe major activities have been identified to the examiner.

           Unacceptable - Performance is not adequate for the position, failing to meet the M arginal level. Numerous
           instances of documented deficiency in at least one of the major activities have been identified to the examiner.

  "Business Day" - shall refertoeach Monday through Friday except Federal holidays. Business hours shall runfrom8:30
  A.M. to 5:00 P.M. Eastern Time.

  "Work Day" - is defined as a normal Monday through Friday and when the examiner is working for a substantial portion of
  the day. Such excludes holidays, days in which adjusted work dismissal occurs, day in which "the employees is not expected
  to work" (or Agency is closed), and days in which employees are excused from duty early.




                                                                 o   onal Initial Block

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l. Production                                                                Name

   Item 4. Progress Reviews (lndicate progress toward accomplishing this element, the need for any adrustments to the
   plan, or areaa where performance needs to be lmproved)




                                                                             p oyee   Date      Employee's          Date
                                                                       lnitials                 lnitials

                                                                         u            Date        upervisor's           ate
                                                                       lnitials                 lnitials

  Item   5. Element Rating & Justification (support rating   in spacs bslow)
                                                                                                      Enter Rating
                                                                                                      1-5 in adiacent
  S Outslanding   4-   Commendable 3. Fully Successful 2- Marginal 1- Unacceptable                    block




  Item 5.a. ApprovingrAppointing Authority Com msnts and Signature (Required only if approvingrappointing authority changes
  rating oflicial'a element rating in ltem 5.




  Approving/Appolnting Authority Signature                                              Date
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ll. Quallty                                                                           Namq

   Item 4. Progress Reviews (lndicate progrcss toward accomplishing this element, the need for any adiustments to the
   plan, or areas where performance needs to be lmproved)




                                                                                      p oyee     Date     Employee's          Date
                                                                                  lnitials                lnitials

                                                                                     pe      3   Date     Supervisor'B        Date
                                                                                  lnitials                lnitials

  Item   5. Element Rating   t   Justitication (support rating in space below)
                                                                                                                Enter Rating
                                                                                                                1'5 in adjacent
  S Outstanding 4- Commendable         3- Fully   Successtul   2-   Marginal   1- Unacceplable                  block




  Item 5.a. ApprovingrAppointi ng Authority Comments and Signature (Required only if approvingrappointing authority changes
  rating official's element rating in ltem 5.




  Approvin g/Appointing Authority Signature                                                        Date
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lll. Dockgl lanagemgnt                                                               Name

  Item 4, Progress Reviews (lndicate progress toward accomplishing this element, the need for any adiu3tnents to the
  plan, or areas where performance needs to be improved)




                                                                                 m            Date     Emp oyee            Date
                                                                               lnitials                lnitials

                                                                                 uperv        Date     Superviaor's        Date
                                                                               lnitials                lnitials

  Item   5. Element Rating   &   Justificatlon (support rating in space below)
                                                                                                             Enter Rating
                                                                                                             1-5 in adjacent
  I   Outstanding 4- Commendable       3- Fully   Successful 2- [4arginal   1- Unacceptable                  block




  Item 5.a. ApprovingrAppoi nting Authority Comments and Signature (Required only if approvingrappointing authority changes
  rating ofticial's element rating in ltem 5




  ApprovingrAppointing Authority Signature                                                      Date
Fom CD-396A (Rev. 3,89)                                                                                            uscoMM-Dc 87-1650



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lV. Stakeholder lnteraction                                                             Namo:

  Item 4. Progress Reviews (lndicate progreas toward accomplishing this element, the need for any adlusbnents to the
  plan, or areas where performance needs to be improved)




                                                                                        p oyee    Daie      Em                  iETE
                                                                                  lnitials                  lnitials

                                                                                    u             Date       upervisor's        Date
                                                                                  lnitials                  lnitials

  Item   5. Element Rating    &   Justificatlon (support rating in space below)
                                                                                                                  Enter Rating
                                                                                                                  1-5 in adjacent
  5-   Outstanding 4- Commendable 3       Fully   Successful   2-   Marginal   'l- unacceptable                   block




  Item 5.a. ApprovingrAppointing Authority Comments and Slgnature (Required only if approving/appointing authority changes
  rating oflicial's element rating in ltem 5-




  Approvin grAppointing Authority Signature                                                          Date
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    SECTION II - PERFORMANCE SUMMARY AND RATING
    Name

    ITEM 1. lnstructions
    1 List   each €lement in the performance plan; ,ndicale whether it is critical/non-critical and \,rhat s€ight has been assigned to   il
    2. Assrgn a rating level for each element. (5)   Outshnding (4)Conmendable (3) Fully Successtul              (2) Marginal&tinimally       Satisfactory   (l)
    Unacceptablerunsatisfactory (SES)
    3. Score each element by multiplying the wEighl by lhe rating level.
    4. After each elem€nt has been scored, compute the lotal score by summing all individual scores. Total score can range ftom 100 to 500

                                                                                 Critical or                           Individual Weights                 Element
    Performance Element                                                          Non-critic.l          MBO                    (Sum musa                   R{ting               Score
                                                                                  (C or NC)                                   aotrl 100)                     (l-s)
    I. Production
                                                                                       C                                         0o/o                         0                    0

    II. Quolity
                                                                                       c                                        70o/o                         0                    0

    III.   Docket Mxnagement
                                                                                       c                                        20i)/0                        0                    0

    IV. Stak€holder Interaction
                                                                                     NC                                         100/0                         0                    0

                                                                                                                                                     TOTAL
                                                                                                                                t00vo                                              0
                                                                                                                                                     SCORE
                                                       For SES: Turn to revarso side and contlnue with ltem 3.
ITEM 2. PERFORMANCE RATI NG                                                  (Based on total score excepa lhat if any critical elemena is less than                lulty

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I          (Ifslandrno
           1+oo-sooy
                        -
    Ratlng Ofiicial's Slgnature
                                      I
                                      I
                                               Commendable
                                               (380-459)
                                                                                   Fully Successful
                                                                                   (29G379)

                                                                                                   Tifle
                                                                                                             r
                                                                             succ€s,s'lul lhe rating can be no higher lhan the lowesl
                                                                                                                     Marginal
                                                                                                                     (20G289)
                                                                                                                                                  citcal     elernenl r.aing]
                                                                                                                                                             Unacceptable
                                                                                                                                                             (100-199)

                                                                                                                                                                           Date


    Approvhg Offi clal's Slgnaturs                                                                 Ti0s                                                                    Date:


    Employoe's Slgnature (lndicates appraisal meeting held)                                                     Employee Comments Attached                                 Date'
                                                                                                                        Yes                          No


    Section lll. - PERFORMANCE RECOGNITION (cenerat workforceonty)
       Performance Award: $       (    Y") For performance awards: Has employee                                                                                      been promoted
                                                                                                   during the appraisal cycle?                            Yes                      No

             QSI (Outstandinq ratinq required)                                                     Appropriation No
    Ratlng Otficial's Slgnature                                                                    TitlE
                                                                                                                                                     Date
    Approvlng Offi clal'a Signatur€                                                                Title
                                                                                                                                                     Date:
    Flnal Approving      Authoriyg Slgnature
                                                                                                                                                     Date:
    Paymsnt Authorlzod by Peraonnel Offlco
                                                                                                                                                     Date:
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         Position Description            -   GS-9
         Introduction:

        This position is located in the OfIice ofthe Commissioner for Patents, Patent Operations

        Maior Duti€s and ResDonsibiliaies:

        The employee performs assignments of average dilliculty in the assigned area of technology relative to the patent
        examining function requiring the application offundamental principles, concepts, techniques, and guidelines relative
        to patent examining.

        Independently performs "Basic" patent examining functiors (e.9., planning and conducting the search, applying
        references to the patent application, etc,) with no preliminary instructions from supervisor. References used to
        determine whcther or not the claimed invention is new and patentable are presented for detailed review. All Patent
        OIfrce actions are submitted to supervisor in draft form for close review. Searches completed by the employee are
        not normally repeated supervisor during this review.

        May perform "Advanced" patent examining functions (e.9., the evaluation of special claim constructions,             the
        requirement  of resaictions, the recognition and development of probable interferences, etc.) only after obtaining
        preliminary instructions fiom the supervisor and all determinations involving such functions are subject to close
        review.

        Eve.lgelis4-EslsE:

        Factor I   - Nsture and Exletrt of Pe rformance of Exlminins      Futrctions

        The employee performs Basic examining functions without preliminary instructions from the supervisor. References
        relied upon for decisions by the employee, however, are reviewed in detail by the supervisor or senior Patent
        Examiner. Searches completed by the incumbents are not ordinarily repeated by the supervisors du ng the review.
        All Patent Office actions are closely reviewed in draft form.




        Factor 3   - Technolo        ComDlexitv of   Art
        N/A

        Other SisnifieSnt Fact!:

        The duties and responsibilities of this position require a bachelor's degree in a professional or scientific occupation
        asdefinedby the Patent Examining Series, GS-1224 and approved by the Office of Perso rel Management.

        The duties and responsibilities ofthis position also require the following:
              .    Knowledge    of   basic and/or standard engineering, scientific, and./or real world processes, principles,
                   concepts, and methodologies that are used in the patent examination process; and
              .    Ability to apply fundamental and diversified engineering, scientific, and/or real world processes, concepts,
                   theories, and practices; and achieve objectives, versatility, judgment, and perception.

        FLSA Status

        Exempt

        Position Sensitivity:
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F       Moderate Risk    - Non-ADP (5N)
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l                                                                                                                       page 75


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                                                                                    GS-1224-9

  FACTOR I. Nature and Extent of          formance of Examinins Functions:

  Incumbent independently performs "Basic" patent examining functions (e.g., planning and
  conducting the search, applying references to the claimed invention, etc.) with no preliminary
  instructions from the supervisor. References used to determine whether or not the claimed
  invention is new and patentable are presented for detailed review. All Patent OIIice actions are
  submitted to the supervisor in draft form for close detail, although searches completed by the
  incumbent are not normally repeated by the supervisor during this review.

  Incumbent may perform "Advanced" patent examining functions (e.g., the evaluation ofspecial
  claim constructions, the requirement ofrestrictions, the recognition and development ofprobable
  interferences, etc.) only after obtaining preliminary instruction from the supervisor and all
  determinations involving such functions are subject to close review.

  FACTOR II. Contact and Commitment Authorltv:

  Incumbent has no commitment authority.

  FACTOR     ru,   Technoloqical ComDlexi8 of Art:

  Assignments normally involve responsibility for technological problems which can be solved by
  the proper application ofthe fundamental knowledge and techniques ofthe specialized art.



 FACTOR LEVELS ATID POINTS CREDITED:

 Factor l:     Level:      D           Points:     20
 Factor 2:     Leve[:                  Points:
 Factor 3:     Leve[:                  Points:

                                                           Total Points:     20
                                                                 Grade:




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                                                  EVALUATION STATEMENT
                                                    PATENT EXAMINER

         Posiaion   Title: PateDt Examiner                                                  Position Series: 1224
         Position Grade: GS-09



                                                                      Poinas
                            Evaluaaioll Factors                                     Level        Comments
                                                                    Assigned


         L Nature and Extent of Pcrformance of Examining                20           D
         Functions


         Il. Cortact srd Commitmert Authority                                       N/A


        IlI.   Technologr Complcxity of   Art                                       N/A

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          U      Total Points                                          20
          M
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          Y

         Standard(s) Used;
        Patent Examining Seties, GS-1224 ^fS-24   April   1960, TS-19 August 1974




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U)      Patsnt Examlner                                                                                   MR#:4003-
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                                             Probationary Addendum

    All newly hired examiners having no prior patent examining experience will              be evaluated under
    Element II as follows:

    Durine the first six months:

           All examiners   are evaluated   with respect to:

           Major Activities - After receiving specific and detailed preliminary instructions, the
           examiner performs patent examining functions of a simple nature, assigned primarily for
           training purposes. The assigned functions may include, by way ofexample, those ot
           checking applications for (a) compliance with formal requirements and (b) technological
           accuracy; treating disclosure statements and claims of priority; and conducting searches.

           Criteria for Evaluation - The examiner is evaluated under the generic performance
           standards with respect to his or her ability to (l) leam and independently perform the
           assigned functions and (2) accept instruction and incorporate feedback with respect to the
           performance of these functions.

   Durins the second six months:

           Examiners paid at the GS-5 level     will   be evaluated under the same provisions as for the
           first six months.

           Examiners paid at the GS-7 level and above         will   be evaluated   with respect to:

           Major Activities - After receiving preliminary instructions, the examiner performs the
           following patent examining functions and formulates or recommends appropriate action
           with respect to each: (l) checking applications for (a) compliance with formal
           requirements and (b) technological accuracy; (2) treating disclosure statements and
           claims of priority; (3) anatyzing disclosure and claims for compliance with 35 U.S.C.
           I l2; (4) planning field of search; (5) conducting search; (6) formulating rejections under
           35 U.S.C. 102 and 103 with supporting rationale, or determining how claim(s) distinguish
           over the prior art.

           Criteria for Evaluation - The examiner is evaluated under the generic qualitative
           performance standards with respect to his or her ability to (l ) learn and independently
           perform the assigned functions and (2) accept instruction and incorporate feedback with
           respect to the performance ofthese functions.

   After twelve months:

           All examiners will   be evaluated   with respect to their actual GS level for all assigned
           functions.

           All newly hired examiners having prior patent examining experience will be evaluated
           under Element I as follows: for performance rating purposes Element I will not apply
           during the first calendar year.



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